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 6 Attorneys for Plaintiff

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 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                         EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                                      CASE NO. 1:12-cr-00373 AWI
12                                         Plaintiff,               STIPULATION TO CONTINUE
                                                                    MOTIONS AND STAUTS HEARING;
13   v.                                                             ORDER
14   ESTEBAN ABREGO-BANOS, ET AL.
15                                         Defendants,
16

17             Plaintiff United States of America, by and through its counsel of record, and defendants, by

18 and through their counsel of record, hereby stipulate as follows:

19             1.        By previous order, this matter was set for motions hearing and status on February 11,

20 2013 at 1:30 p.m.

21             2.        By this stipulation, the parties now move to continue the status conference and

22 motions hearing until February 25, 2013 at 1:30 p.m. and to exclude time between February 11, 2013

23 and February 25, 2013 under 18 U.S.C.§ 3161(h)(1)(D), (7)(A), and (B)(iv). Pretrial motions have

24 been filed and are pending.

25             3.        Further, by this stipulation, the government’s response to the motions filed by the

26 defendants will now be due February 15, 2013.

27             4.        The requested continuance will not affect the presently set jury trial date, March 19,

28 2013.
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 1            5.        The parties agree and stipulate, and request that the Court find the following:

 2                      a.        The government has provided discovery in this matter and is undertaking to

 3            determine if additional discovery exists in order to comply with its discovery obligations

 4            pursuant to Rule 16, Brady, and Giglio.

 5                      b.        Counsel for the government contacted defense counsel in advance of the

 6            response due date regarding this request for the continuance. Both defense counsel had no

 7            objection however counsel for the government was out of state at the time. Upon return,

 8            counsel for the government attempted to contact defense counsel regarding this stipulation

 9            and was not able to reach counsel for defendant Abrego-Banos until approximately 3:30 PM

10            on February 7, 2013.

11                      c.        Counsel for the government needs additional time to complete the response to

12            the motions filed by both defendants.

13                      d.        Further, counsel for defendant Abrego-Banos will be out of the country on

14            February 11, 2013 and will not be returning until February 18, 2013.

15                      e.        Offers have been conveyed, counteroffers have been made, and plea

16            negotiations are continuing.

17                      f.        Based on the above-stated findings, the ends of justice served by continuing

18            the motions and status conference hearing as requested outweigh the interest of the public

19            and the defendant in a trial within the original date prescribed by the Speedy Trial Act.

20                      g.        For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

21            3161, et seq., within which trial must commence, the time period of February 11, 2013 to

22            February 25, 2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(1)(D),

23            (h)(7)(A), and (B)(iv) because it results from a continuance granted by the Court at the

24            parties’ request on the basis of the Court's finding that the ends of justice served by taking

25            such action outweigh the best interest of the public and the defendants interest in a speedy

26            trial.

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 1          6.        Nothing in this stipulation and order shall preclude a finding that other provisions of

 2 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

 3 a trial must commence.

 4          IT IS SO STIPULATED.

 5 DATED: February 7, 2013                                   /s/ Laurel J. Montoya
                                                             LAUREL J. MONTOYA
 6                                                           Assistant United States Attorney
 7 DATED: February 7, 2013                                   /s/ Roger K. Litman
                                                             ROGER K. LITMAN
 8                                                           Attorney for Defendant Esteban Abrego-Banos
 9 DATED: February 7, 2013                                   /s/ Carol Ann Moses
                                                             CAROL ANN MOSES
10                                                           Attorney for Defendant Edgar Garcia-Banos
11

12                                                            ORDER

13          IT IS SO FOUND AND ORDERED.

14

15

16 IT IS SO ORDERED.

17
        Dated:       February 8, 2013                                                  /s/ Barbara A. McAuliffe   _
18                                                               UNITED STATES MAGISTRATE JUDGE
                                                                 DEAC_Signature-END:




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29     Abrego-Banos, et al. Stipulation and Proposed Order

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